                         Case 4:12-cr-00230-KGB Document 50 Filed 06/20/13 Page 1 of 5

              (Rev. 09/ll) Judgment in a Criminal Case
                                                                                                                           FILED
                                                                                                                       U.S. DISTRICT COURT
A0245B                                                                                                             EASTERN DISTRICT ARKANSAS
              Sheet l

                                                                                                                        JON 2 0 2013
                                           UNITED STATES DISTRICT COURJAMES
                                                            Eastern District of Arkansas     By:_-4<11;...¥,.....;:;_+-f~~~~
                                                                        )
             UNITED STATES OF AMERICA                                   )      JUDGMENT IN A CRIMINAL CASE
                                  v.                                      )
                         KENT HALLUM                                      )
                                                                          )
                                                                                  Case Number: 4:12CR00230-002 KGB
                                                                          )       USM Number: 17754-076
                                                                          )
                                                                          )       Bill Bristow
                                                                                  Defendant's Attorney
THE DEFENDANT:
ij{pleaded guilty to count(s)          1
                                   -------------------------------------------------------------------------
0 pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                         Offense Ended
 18 u.s.c. § 371                   Conspiracy to Violate the Travel Act                                      7/31/2011                    1




       The defendant is sentenced as provided in pages 2 through          __s__ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)

D Count(s)                                               Dis      Dare dismissed on the motion of the United States.
               -------------------------
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenoant must notify the court and United States attorney of material clianges in economtc circumstances.

                                                                           6/20/2013
                                                                          Date oflmposition of Judgment




                                                                           Kristine G. Baker                            U.S. District Judge
                                                                          Name and Title of Judge


                                                                           6/20/2013
                                                                          Date
                            Case 4:12-cr-00230-KGB Document 50 Filed 06/20/13 Page 2 of 5
AO 2458       (Rev. 09/11) Judgment in a Criminal Case
              Sheet 4--Probation
                                                                                                            Judgment-Page   _2=-- of           5
DEFENDANT: KENT HALLUM
CASE NUMBER: 4:12CR00230-002 KGB
                                                                  PROBATION
The defendant is hereby sentenced to probation for a term of:

 3 years




The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall suomit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter, as determined by the court.
~ The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)
         The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
         The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
         The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
         as direc~ed by the probation offi~er, the Burea~;~ of Prisons, or any state sex offender registration agency in which he or she resides,
         works, IS a student, or was convicted of a quahcymg offense. (Check, if applicable.)
0        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
       If this judgment imposes a fine or restitution, it is a condition of probation that the defendant pay in accordance with the Schedule of
Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
    1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
    3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4)    the defendant shall support his or her dependents and meet other family responsibilities;
    5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
    6)    the defendant shall notifY the probation officer at least ten days prior to any change in residence or employment;
    7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
          substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9)    the defendant shall not associate with any J?ersons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observea in plain view of the probation officer;
 11)      the defendant shall notifY the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the d~fe.ndant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
 13)      as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendant's ~riminal
          record or ~ersona1 history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant s compliance with such notification requirement.
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AO 2458   (Rev. 09/11) Judgment in a Criminal Case
          Sheet 4A - Probation
                                                                                            Judgment-Page -~3- of           5
DEFENDANT: KENT HALLUM
CASE NUMBER: 4:12CR00230-002 KGB

                                              ADDITIONAL PROBATION TERMS
 Mr. Hallum is placed on probation for a term of 3 years. He must report to the probation office at 600 West Capitol, Room
 A226, Little Rock, Arkansas, 72201 immediately following this hearing and comply with all mandatory and standard
 conditions that apply.
 He shall serve a term of 9 months home confinement.
 He shall participate in the Location Monitoring Program for a period of 9 months to commence no later than 30 days from
 the date of sentencing. During this time, he is restricted to his residence except for employment and other activities
 approved in advance by the probation office. He will maintain a telephone at his place of residence without any feature or
 service that would interfere with the operation of the location monitoring equipment for the above period. He may be
 required to wear a location monitoring device, which may include Radio Frequency, Global Positioning System, or Random
 Tracking at the discretion of the U.S. Probation Office and shall abide by all technology requirements. Mr. Hallum shall
 follow all location monitoring procedures specified by the probation office and shall pay for the costs based on a
 co-payment fee established by the probation office. He must comply with the terms and conditions of the program.
 Further, Mr. Hallum shall abstain from the use of alcohol throughout the term of probation.
 Mr. Hallum shall disclose financial information upon request of the U.S. Probation Office, including but not limited to loans,
 lines of credit, and tax returns. This also includes records of any business with which the defendant is associated. No new
 lines of credit shall be established without prior approval of the U.S. Probation Office until all criminal penalties have been
 satisfied.
 Mr. Hallum shall complete 100 hours of community service prior to the expiration of his term of probation.
                        Case 4:12-cr-00230-KGB Document 50 Filed 06/20/13 Page 4 of 5
AO 245B   (Rev. 09/ll) Judgment in a Criminal Case
          Sheet 5 - Criminal Monetary Penalties
                                                                                                       Judgment- Page _     _,_4_ of    5
DEFENDANT: KENT HALLUM
CASE NUMBER: 4:12CR00230-002 KGB
                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                      Assessment                                      Fine                                    Restitution
TOTALS            $ 100.00                                          $ 10,000.00                           $



D The determination of restitution is deferred until - - - . An Amended Judgment in a Criminal Case (AO 245C) will be entered
    after such determination.

D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approximately proportioned pa~ent, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
    before the United States is paid.

Name of Payee                                                           Total Loss*          Restitution Ordered Priority or Percentage




TOTALS                                      0.00
                                    $ -------                              $                      0.00
                                               -                               ---------

D    Restitution amount ordered pursuant to plea agreement $
                                                                      --------------------

D    The defendant must pay interest on restitution and a fme of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S. C.§ 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

ri/ The court determined that the defendant does not have the ability to pay interest and it is ordered that:
    !/ the interest requirement is waived for the i/ fme D restitution.
     D the interest requirement for the              D   fme   D restitution is modified as follows:


*Findings for the total amount oflosses are required under Chapters 109A, 110, 110A, and 113A ofTitle 18 for offenses committed on or after
September 13, 1994, but before April23, 1996.
                         Case 4:12-cr-00230-KGB Document 50 Filed 06/20/13 Page 5 of 5
AO 245B    (Rev. 09/11) Judgment in a Criminal Case
           Sheet 6- Schedule of Payments
                                                                                                               Judgment- Page _     _,.5_ of            5
DEFENDANT: KENT HALLUM
CASE NUMBER: 4:12CR00230-002 KGB

                                                       SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A     ~ Lump sum payment of$               10,000.00            due immediately, balance due

           D     not later than                                     , or
           D     in accordance           D C,         D D,     0      E, or     ri/ F below; or
B     0    Payment to begin immediately (may be combined with                 0 C,       0 D, or       0 F below); or
C     0    Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                            over a period of
                           (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

D    D     Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E    0     Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    rl/ Special instructions regarding the payment of criminal monetary penalties:
           If not satisfied immediately, the fine is payable during the term of probation. Beginning the first month of probation,
           payments will be 10 percent per month of Mr. Hallum's monthly gross income. The interest requirement is waived.




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment ofcriminal monet~ penalties is due during
imprisonment. All cnminal monetary penalties, except those payments made through tbe Federal Bureau of Pnsons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



0    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




0    The defendant shall pay the cost of prosecution.

0    The defendant shall pay the following court cost(s):

0    The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.                '
